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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                          CRIMINAL ACTION

VERSUS                                                                      NO. 12-138

GIE PRESTON                                                            SECTION “K”(1)


                               ORDER AND REASONS

       Before the Court is Defendant Gie Preston’s Motion to Suppress Evidence and

Statements. Def.’s Mot. Suppress, R. Doc. 118. The Court held a hearing on

Defendant’s Motion to Suppress on March 26, 2014. For the reasons set forth hererin,

Defendant’s Motion to Suppress is hereby DENIED.

I.     BACKGROUND

       On March 22, 2012, the Defendant, Gie Preston, was indicted in a six count

indictment with charges related to drug trafficking and firearm possession resulting from

two separate arrests. Indictment, R. Doc. 1. Specifically, he faces two counts of

possession of cocaine base (crack cocaine) with intent to distribute, two counts of

possession of a firearm in furtherance of drug trafficking, and two counts of being a felon

in possession of a firearm. Indictment, R. Doc. 1. In addition, a superseding indictment

added six co-defendants to the case and three additional charges: conspiracy to possess

and distribute 280 grams or more of crack cocaine beginning at a “time unknown until on

or about June 6, 2013”; conspiracy to possess firearms in furtherance of drug trafficking;

and conspiracy to possess with intent to distribute a quantity of cocaine base on January

11, 2011. Superseding Indictment, R. Doc. 35.




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         All charges relate to the Defendant’s arrests on December 8, 2011 and January 11,

2011. In Defendant’s instant Motion to Suppress, the Defendant seeks to suppress any

evidence obtained following the arrests and searches of December 8, 2011, and January

11, 2011 and any statements made without the presence of counsel after the December 8,

2011 and January 11, 2011 arrests. Def. Mot. Suppress, R. Doc. 118. The following

reflects the factual basis for the Defendant’s motion and the Government’s version of the

facts.

         A.     December 2010-January 2011 Investigation

         The Defendant was arrested on January 11, 2011, pursuant to an arrest warrant

supported by an affidavit submitted by Officer Brian Pollard of the New Orleans Police

Department (NOPD). Def.’s Mem. Supp. Mot. Suppress, R. Doc. 118, 2. In the

affidavit, Officer Pollard describes a drug transaction that he alleged took place on

December 20, 2010 between the Defendant and another individual, Mark Dupas. Id. at 2,

Ex. A.

         According to Officer Pollard, on December 20, 2010, Officer Pollard was

conducting surveillance of the 1300 block of Simon Bolivar Avenue in New Orleans,

Louisiana. Id; Govt. Mem. Opp. Def.’s Mot. Suppress, R. Doc. 135, 1. Officer Pollard

observed an individual, later identified as Mark Dupas, approach the Defendant on the

corner of Simon Bolivar Avenue and witnessed Mr. Dupas hand the Defendant currency

for an item that the Defendant removed from his mouth and handed to Mr. Dupas. Govt.

Mem. Opp., R. Doc. 135, 1. Officer Pollard then conducted an investigatory stop on Mr.

Dupas, who discarded an item to the ground as he approached Officer Pollard’s vehicle,

which later tested positive for crack cocaine. Id. at 2.



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       Mr. Dupas’s account of the incident varies from Officer Pollard’s account,

however. Mr. Dupas was interviewed in 2012 by Special Agent Henry Meyer of the

Alcohol, Tobacco, Firearms, and Explosives (ATF) Bureau, in the presence of a court

appointed attorney, and explained three factual discrepancies in Officer Pollard’s

account: (1) the transaction took place in the rear of a residence not on Simon Bolivar

Avenue; (2) the contraband (crack cocaine) was not in Mr. Dupas’ hand (before

discarding it) but was secreted in his mouth; and (3) Mr. Dupas was riding a bicycle

when approached by Officer Pollard, not walking. Id. at 2, n. 1; Def. Mem. Supp., R.

Doc. 118, 3.

       On two following occasions, Officer Pollard witnessed the Defendant, Mr.

Preston, engage in similar transactions. On December 31, 2010, Officer Pollard was

conducting surveillance of the same block of Simon Bolivar. Govt. Mem. Opp., R. Doc.

135, 2. He observed a different individual (later identified as a resident of the Guste

Housing Project) approach Mr. Preston, hand Mr. Preston money, and receive something

Mr. Preston handed him after taking it out of his mouth. Id. Officer Pollard approached

the individual afterward and asked him to hand over whatever he had, which was two

pieces of crack cocaine. Id. On January 3, 2011, Officer Pollard was again conducting

surveillance of the same block, and observed another resident of the Guste Housing

Project approach Mr. Preston. Id. Having witnessed the same type of transaction,

Officer Pollard approached the individual and recovered crack cocaine from that

individual before arresting that individual. Id.

       Officer Pollard informed the NOPD Sixth District Narcotics Unit of Mr. Preston’s

trafficking activities to further the investigation. Id. NOPD Detective Jayson Germann



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and other officers began conducting surveillance and observed Preston conduct numerous

mouth to hand transactions on the same block of Simon Bolivar Avenue. Id. at 3.

Though they observed what they believed to be drug transactions, they were unsuccessful

in arresting the buyers as the area had heavy foot traffic. Id.

       On January 11, 2011, the Sixth District detectives conducted a controlled

purchase from Mr. Preston using a confidential informant. Id. The informant was

searched prior to the transaction and then given money to purchase the drugs from

Preston. Id. Detectives witnessed the informant approach Mr. Preston, purchase drugs

from Mr. Preston, and return to the officers relinquishing the contraband (crack cocaine).

Id.

       Detective Germann then obtained a search warrant for Mr. Preston’s automobile

and residence. Id. In Detective Germann’s affidavit, he included information as to

Officer Pollard’s arrest of three of Mr. Preston’s drug customers, the multiple

transactions witnessed by Detective Germann and others, the controlled purchase, Mr.

Preston’s criminal history, and the fact that Preston would go to his vehicle in between

drug transactions and place an object in his mouth. Id. As to his residence, the warrant

described it as a “[s]econd floor wooden structure attached to the rear of the brick

apartment complex labeled with the municipal address of 1329/1327 St. Phillip, New

Orleans, LA.” Id.

       B.       January 11, 2011 Arrest

       After obtaining the warrants, on January 11, 2011, the NOPD officers again

witnessed Preston conducting the drug sales. Id. at 4. Mr. Preston was arrested and read

his Miranda warnings. Id. He was “detained” in anticipation of his arrest pursuant to the



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arrest warrant. Def. Mem. Supp., Rec. Doc. 118, 5. On his person, in a search incident to

arrest, officers found $670 in cash; in his car officers found a .40 caliber handgun under

the hood of the car; in his apartment, officers found drug distribution paraphernalia,

marijuana, and $2,260 in cash. Id. After, he was questioned about his residence, and told

about the search warrants; he denied knowledge of the house address, but after finding

his car keys in the search the officers drove the car to his house where they found another

key to the apartment. Id.

       After bringing Mr. Preston to the Sixth District Police Station, he was again read

his Miranda rights and made a statement, which was recorded. Govt. Opp., R. Doc. 135,

4. Detective Germann interrogated Mr. Preston about the gun, to which Mr. Preston

denied any knowledge or ownership and offered that a variety of people used the gun and

car. Mr. Preston and Detective Germann then had the following exchange:


       Preston:       I am not going to sit here and incriminate myself or incriminate
       anybody else. I am just going to remain silent.

       Germann:        Ok you don’t want to.

       Preston:        You are listening to[o] slow man.

       Germann:        I am sorry, but you are not make [sic] sense and that’s just what I
       am trying to figure out. You don’t’ want to give any other statement? That’s fine.

       Preston:       Y’all could have probably put it under there for all I care but I am
       not pin pointing say ya’ll did for the simple reason that I don’t know.


Govt. Mem. Opp., R. Doc. 135, 5.

        Mr. Preston was then charged at Orleans Parish criminal District Court with

multiple counts of possession and intent to distribute crack, being a felon in possession of

a firearm, and possession of marijuana. Def. Mem. Supp. R. Doc. 118, 6.

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       C.      December 8, 2011 Arrest

       On December 8, 2011, NOPD officers Harold Nunnery and Eric Gillard were on

patrol in South Saratoga and Thalia Streets. While driving north on Thalia, they saw two

men engaged in “verbal and physically threatening conversation.” They also saw that one

of the men was holding a large screwdriver in a “menacing fashion.” Govt. Mem. Opp.,

R. Doc. 135, 5. “Believing a fight was about to take place,” the officers conducted an

investigatory stop. Upon exiting their vehicles “with their guns “ they asked Preston to

drop the screwdriver, but he hesitated. Id. at 4; Def. Mem. Supp., R. Doc. 118, 7. They

again ordered him to drop the screwdriver, to which he complied. After that, for safety,

they ordered him to lay on the ground and handcuffed him, while the companion, Darrius

Williams, was placed in handcuffs near the police car. Govt. Mem. Opp., R. Doc. 135, 4.

Once secure, they performed a pat-down of Mr. Preston and discovered a handgun in his

waistband. Id. In addition, the officer removed $150 cash from his back pocket and a

clear-plastic bag with 20 individually wrapped pieces of “what officers believed to be

crack cocaine.” Id.

       Mr. Preston was then placed under arrest and advised of his Miranda rights. Id. at

6. Once driven back to the Sixth District Station, the officers again read him his Miranda

rights. At that time, detectives from the Crimes Against Person’s Unit (Detectives

Sergeant Contreras, Rob Barrere, and Tom Sisson) not involved with the narcotics

investigation but who had been investigating a series of shootings involving shell casings

from the a 5.7 x 28 mm handgun (consistent with Mr. Preston’s) were brought in to the

room to question Preston about the shootings. Id. Preston allegedly responded “in



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substance, that while he had the gun in his possession that day, the gun normally was kept

under a house for anyone’s use and therefore he had no idea who many have had the gun

at the time of the shootings and denied his personal involvement.” Id.

         However, the Defendant offers a different account of the alleged confrontation on

Thalia Street, supported by a statement given by Mr. Williams. Def. Mem. Supp. Mot.

Suppress, Ex. K. Mr. Williams, in his statement, alleges that as he and Mr. Preston were

“about to buy cigarettes” from a man who lives on the 2100 block of Thalia Street, “all of

the [sic] sudden, two cops pulled up in their car, jumped out and pulled out their guns.”

Id. According to Mr. Williams, he and Mr. Preston asked why they were pulling out their

guns, and the cops did not answer but told them to get to the ground. Id. Then, Mr.

Williams alleges that the cops pushed them to the ground, handcuffed them, and searched

Mr. Preston. Id.


         D.       Procedural Background

         An evidentiary hearing was held to determine the factual circumstances

surrounding the arrests, searches, and statements.1 Generally, when the defendant files a

motion to suppress under Rule 41(h), the defendant has the initial burden of establishing

that the search was obtained in violation of constitutional rights if the police searched

under a warrant. United States v. Guerrero-Barajas, 240 F.3d 428, 432 (5th Cir. 2001)

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  An evidentiary hearing is required on a motion to suppress only when necessary to receive evidence on an
issue of fact. United States v. Harrelson, 705 F.2d 733, 737 (5th Cir. 1983). An evidentiary hearing need
not be set as a matter of course, but only if the motion alleges facts that, if proved, would require the grant
of relief. Id. Factual allegations set forth in the defendant’s motion or in accompanying affidavits must be
sufficiently definite, specific, detailed, and nonconjectural to conclude that a substantial claim is presented;
general and conclusory claims or those founded upon mere suspicion or conjecture are insufficient. Id.
Necessarily, then, “the determination of whether a hearing is required [. . . depends] upon the particular
facts which attend a particular request, and the district court is properly left with a certain amount of
discretion in this regard.” Id. (quoting United States v. Losing, 539 F.2d at 1178) (internal quotation marks
omitted). This Court held an evidentiary hearing to determine issues of fact that, if proven, would
substantiate Defendant’s claims.

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(citing United States v. Roch, 5 F.3d 894, 897 (5th Cir.1993); United States v. de la

Fuente, 548 F.2d 528, 533 (5th Cir.1977), cert denied 431 U.S. 932, 97 S.Ct. 2640, 53

L.Ed.2d 249 (1977)). If the government seized or searched without a warrant, the

government bears the burden of proving, by a preponderance of the evidence, that the

search was constitutional pursuant to one of the exceptions to the warrant requirement.

See id.


II.       ANALYSIS

          In his Motion to Suppress, the Defendant seeks to suppress any evidence obtained

following the arrests and searches of December 8, 2011, and January 11, 2011 and any

statements made without the presence of counsel after the December 8, 2011 and January

11, 2011 arrests. Def. Mot. Suppress, R. Doc. 118. As noted above, the Defendant

contends that the evidence gathered in relation to both his January 11, 2011 and

December 8, 2011 arrests should be suppressed based on five grounds, four of which are

placed at issue before the Court:

      (1) the affiant providing information for the arrest warrant affidavit and search

          warrant affidavits for his vehicle and apartment falsified information, making

          those warrants unconstitutional;

      (2) Defendant’s statements made to police after each arrest were made without

          counsel present;

      (3) the search warrant for the Defendant’s apartment was unconstitutionally vague;

          and




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    (4) the police officers lacked reasonable suspicion in making the December 8, 2011

         investigatory stop.2

The Court will address each of the alleged grounds in seriatim.

         A.       Sufficiency of Arrest and Search Warrant Affidavits

         The Defendant’s motion to suppress asserts that the Government obtained

evidence in violation of the Fourth Amendment to the United States’ Constitution. The

Fourth Amendment plainly requires that a warrant issue only “upon probable cause,

supported by oath or affirmation…” U.S. Const. Amendment IV. Though the Fourth

Amendment “says nothing about suppressing evidence,” the prudential “exclusionary”

rule may be used to suppress the evidence where the remedy would deter future Fourth

Amendment violations. Davis v. United States, 131 S.Ct. 2419, 2426-27, 180 L.Ed.2d

285 (2011).

         Under the exclusionary rule, courts must suppress evidence seized on the basis of

a warrant unsupported by probable cause. United States v. Pope, 467 F.3d 912, 916 (5th

Cir. 2006). In determining whether to apply the exclusionary rule, the court applies a

two-step test: first, the court must ask whether the good-faith exception to the rule

applies, and second, the court must ask whether the warrant was supported by probable

cause. United States v. Mays, 446 F.3d 335, 342-43 (5th Cir. 2006). If the good-faith

exception applies, the court need not inquire whether probable cause existed. Id. at 343.




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  The Defendant also asserted that he invoked his right to remain silent toward the end of his January 11,
2011 interview by stating that he was not going to “incriminate himself” and that any statements made
thereafter should be suppressed. Def. Mem. Supp., R. Doc. 118, 12-13. While the Government takes the
position that Mr. Preston’s Fifth Amendment rights were not violated, the Government also stated that “it
will not seek to introduce into evidence that portion of Preston’s statement that follows his statement
‘remain silent.’” Govt. Mem. Opp., R. Doc. 135, 12. Thus, the Court will not address this ground in this
opinion.

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       The “good faith inquiry is confined to the objectively ascertainable question

whether a reasonably well-trained officer would have known that the search was illegal

despite the magistrate’s authorization.” Pope, 467 F.3d at 916 (citation and internal

quotation marks omitted). In determining whether the officers were in good faith, the

court may examine “all of the circumstances surrounding the issuance of the warrant.”

Id.

       The court will uphold officers’ good faith reliance on a warrant, unless one of the

four exceptions set forth by the Supreme Court applies:

       (1) the issuing-judge was “misled by information in an affidavit that the affiant
       knew was false or would have known was false except for his reckless disregard
       of the truth”; (2) the issuing-judge “wholly abandoned his judicial role” in such a
       manner that “no reasonably well trained officer should rely on the warrant”; (3)
       the warrant was “based on an affidavit so lacking in indicia of probable cause as
       to render official belief in its existence entirely unreasonable”; or (4) the warrant
       was facially invalid.

United States v. Gibbs, 421 F.3d 352, 355 (5th Cir. 2005) (quoting United States v. Leon,

468 U.S. 897, 923, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984) (internal quotation marks

omitted); United States v. Sibley, 448 F.3d 754, 757-58 (5th Cir. 2006).

       In this matter, Defendant places the second exception at issue. The Defendant

alleges that Officer Pollard falsified information in his affidavit, which supported the

arrest warrant and information provided in the search warrants, and that the credibility of

the affiant of the search warrant, Detective Germann, was similarly suspect. “There is, of

course, a presumption of validity with respect to the affidavit supporting the search

warrant.” Franks v. Delaware, 438 U.S. 154, 171-72, 98 S. Ct. 2674, 2684-85, 57 L. Ed.

2d 667 (1978); see also United States v. Craig, 861 F.2d 818, 821 (5th Cir. 1988)

(“Issuance of a warrant by a magistrate normally suffices to establish good faith on the



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part of law enforcement officers who conduct a search pursuant to the warrant.”).

Nevertheless, the Supreme Court has held that if a defendant makes sufficient allegations

of reckless disregard, and if, notwithstanding the falsified content, there remains

insufficient content in the warrant affidavit to support a finding of probable cause, an

evidentiary hearing must be held to determine the verity of the affidavit.3 Thereafter, if

the defendant fails to establish an intentional falsity or reckless disregard for the truth by

a preponderance of the evidence, the good-faith exception applies and the court may

consider the entire affidavit. See United States v. Cavazos, 288 F.3d 706, 710 (5th Cir.

2002).

         Defendant contends that the affidavits submitted in support of the December

arrest warrant and the January search warrants were “compromised by their inclusion of

false information from Detective Pollard.” Def.’s Mem. Supp. Mot. Suppress, R. Doc.

118, at 8. Specifically, the Defendant alleges that information in Officer Pollard’s

account of one particular narcotics transaction was falsified. Id. at 8-9. The affidavit is

wholly comprised of Officer Pollard’s account of a narcotics transaction involving the

Defendant and another individual identified as Mark Dupas. Def. Mot. Suppress, Ex. A

As stated above, Officer Pollard’s account, which was recorded in his affidavit, differs

from that given by Mr. Dupas in his 2012 statement. The Defendant also suggests that

Officer Pollard’s credibility is suspect, based on a single press article recounting his

“several instances of ‘payroll fraud’” as well as having four citizen complaints.”4 Based


3
  Franks, 438 U.S. at 172; United States v. Arispe, 328 F. App'x 905, 906-07 (5th Cir. 2009). Thus, with
respect to Franks hearings, the Fifth Circuit has held that a defendant is entitled to an evidentiary hearing
on a motion to suppress evidence if he shows that (1) allegations in a supporting affidavit were deliberate
falsehoods or made with a reckless disregard for the truth, and (2) the remaining portion of the affidavit is
not sufficient to support a finding of probable cause. United States v. Brown, 298 F.3d 392, 395-96 (5th
Cir. 2002).
4
  Def.’s Mem. Supp. Mot. Suppress, Ex. H

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on these discrepancies and Officer Pollard’s alleged lack of credibility, the Defendant

claims that the warrants contained false information and resulted in unconstitutional

searches and arrest of the Defendant.

           The Defendant also attacks the constitutionality of the search warrants, by

questioning the credibility of the confidential informant mentioned in the affidavit

supporting the search warrants; by questioning the credibility of the affiant, Detective

Germann; and by noting that the affidavit supporting the warrants included Officer

Pollard’s allegedly falsified account of the Dupas arrest. The Defendant questions the

credibility of Detective Germann, citing another press article concerning the large

number of citizen complaints received while he worked the River Garden area detail.5

The Defendant also alleges that, notwithstanding the “highly speculative and

uncorroborated officer statements in the search warrant . . . , the only other non-

speculative element to the affidavit relates to a controlled purchase from an unnamed

confidential informant” that alone is not sufficient to establish probable cause. Id. at 11

n.8.


                   1. Information in Affidavit Supporting the Arrest Warrant

           At the hearing, Officer Pollard testified that, over the five years that he acted as

the liason officer between the Sixth District and the Housing Authority of New Orleans

(HANO) and having his office at the Guste Highrise Development, he witnessed ongoing

drug-related activity occur on Simon Bolivar Avenue.6 From one of the several vantage

points from the Guste building, including his office on the first floor of the building

facing Simon Bolivar Avenue, Officer Pollard repeatedly witnessed residents of the

5
    Def.’s Mem. Supp. Mot. Suppress, Rec. Doc. 118, at 10 n.7.
6
    Mot. Suppress Hr’g Tr. 8-9, 14, March 26, 2014.

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Guste high-rise and other individuals engage in what he believed to be transactions

consistent with hand-to-hand narcotics purchases.7 In particular, Officer Pollard

observed Gie Preston repeatedly engage in these types of transactions on Simon Bolivar

Avenue on a nearly daily basis.8 On two occasions, Officer Pollard observed Gie Preston

remove an object from his mouth and hand it over to an individual with him, after

receiving currency; Officer Pollard then affected arrests on the buyers, receiving the

contraband on their person, which tested positive for crack cocaine.9

         On December 20, 2010, Officer Pollard testified that he again witnessed Preston

and another individual standing on the corner of Simon Bolivar Avenue near Clio Street

engage in a mouth-to-hand transaction, the same type of transaction Officer Pollard had

witnessed Mr. Preston engage on several prior occasions.10 Officer Pollard left his

surveillance location in the Guste high-rise and proceeded in his vehicle to conduct a stop

on the individual, later identified as Mark Dupas.11 When Officer Pollard asked Mr.

Dupas to approach his vehicle, Mr. Dupas threw an object to the ground, which was later

identified as contraband and tested positive for crack cocaine.12 In contrast to Mr.

Dupas’s statements, Officer Pollard maintained that Mr. Dupas was not riding a bicycle;

if he had been riding a bicycle at the time of arrest, the bicycle would have had to be

placed in the police station property room as part of standard protocol.13

         In addition, Officer Pollard testified that he would not have had any visual of the

area behind a residence on Simon Bolivar Avenue, nor would he have attempted to make


7
  Hr’g Tr. 13-14; 25; 27.
8
  Hr’g Tr. 12, 14.
9
  Hr’g Tr. 13-14.
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   Hr’g Tr. 14, 15.
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   Hr’g Tr. 15.
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   Hr’g Tr. 15.
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   Hr’g Tr. 16.

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a “walled off stop” of a drug customer if he had not witnessed a drug purchase

transaction take place.14 Moreover, as counsel for the Government and Officer Pollard

noted, Defendant’s allegation and Mr. Dupas’s statement that the drug transaction took

place out of view of Officer Pollard defies common sense: Officer Pollard would have no

reason to attempt a stop of a drug customer without having witnessed a transaction in an

area where drug transactions and arrests were frequent and visible.15

         As to his alleged payroll fraud and negative history, Officer Pollard explained that

he received only one count of payroll fraud and was not charged but given a one month

suspension. Id. The circumstances reflect a misunderstanding of office protocol

regarding logging of hours when Officer Pollard performed another officer’s shift as a

favor, which resulted in an overlap of four hours. Id. Ultimately, it is the Court’s

opinion that this prior history does not tarnish Officer Pollard’s credible account of the

Defendant’s drug activity around the Guste highrise and the Dupas arrest.

         According to Mr. Dupas, however, Officer Pollard’s account is incorrect. In

observing Mr. Dupas’s demeanor and lack of candor in answering questions asked of

him, the Court is not inclined to afford Mr. Dupas’s account of the events significant

weight.16 When under cross-examination by the Government, Mr. Dupas initially flatly

denied ever having bought drugs from Mr. Preston. Id. Yet, in his 2012 interview with

Agent Meyers, Dupas stated that he “purchased ($10) dollars of crack cocaine from

PRESTON and secreted it in his mouth.” Def. Mot. Suppress, Ex. B. Later, at the

hearing, Mr. Dupas testified that he merely did not know the identity of the individual

14
   Hr’g Tr. 16.
15
   Hr’g Tr. 55.
16
   Hr’g Tr. 55-56. The Court also takes cognizance of Mr. Dupas’s criminal history, which does not exhibit
respect for the law: Mr. Dupas testified that he has been arrested “probably” over 60 times and is a life-time
drug user. Id.

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from whom he purchased the drugs, but that he met Mr. Preston in jail sometime later in

2011 and identified him as the person from whom he bought drugs. Again, Mr. Dupas

was less than forthcoming about a prior hand-written statement he made regarding the

December 2010 purchase. As requested by Mr. Preston, Mr. Dupas submitted the

statement denying ever having purchased drugs from Mr. Preston; Mr. Dupas stated in

his interview with Agent Meyers that the statement was false; at the suppression hearing,

Mr. Dupas stated that he did not state that the statement was false, but that “all [he] told

them was [he] didn’t find out who [Mr. Preston] was until come to find out that [Mr.

Preston] was that same person” who had sold him drugs. See Def. Mot. Suppress, Ex. B.

The Court also notes that the interview contradicting the events recounted by Officer

Pollard took place years after the event.17

        Ultimately, the Court credits the testimony of Officer Pollard regarding the

circumstances surrounding the Dupas arrest on December 20, 2010, and finds that Mr.

Dupas’s account does not discredit Officer Pollard’s account. Thus, the Defendant has

failed to show that Officer Pollard’s statements exhibit any reckless disregard for the

truth, and the good faith exception is applicable as to the arrest warrant.


                 2. Information in Affidavits Supporting the Search Warrants

        In the affidavits supporting the search warrants for Mr. Preston’s automobile and

apartment, Detective Germann provides a summary of Officer Pollard’s account of the

Dupas arrest, his own observations of Mr. Preston’s drug-related activity, and his first-



17
  Def. Mot. Suppres, Ex. B. The interview took place on May 10, 2012. Id. While the Court notes that Mr.
Dupas does not stand to gain from lying about the December 2010 events, as Defendant contends, Mr.
Dupas’s history of giving statements, recanting those statements, and lying to protect Mr. Preston does not
convince the Court of his truthfulness.

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hand account of a controlled purchased involving a confidential informant. Def. Mot.

Suppress, Ex. D, E.

         Detective Germann testified at the hearing that he began an investigation of Mr.

Preston after Officer Pollard informed the Sixth District Narcotics Unit of Mr. Preston’s

ongoing drug activity that he had been witnessing.18 Using that information, Detective

Germann conducted surveillance from the Guste highrise and witnessed what he believed

to be mouth-to-hand narcotics transactions on at least three occasions before his arrest in

January.19 During his surveillance, Detective Germann and other officers from his unit

observed Mr. Preston’s residence.20 He also observed Mr. Preston using a vehicle and

retrieving objects from the vehicle and placing them in his mouth.21 However, Detective

Germann did not affect arrests of any purchasers because of the fear that any exposure of

the narcotics unit to the community would result in an “automatic shut-down” of the drug

activity.22 Thus, having been unsuccessful in arresting drug customers, the officers

decided to conduct a controlled purchase with a confidential informant.23 Detective Evan

Cox provided the confidential information, who was searched prior to the controlled

purchase and had been used successfully in other operations.24 Detective Germann

testified at the hearing and stated in his affidavit that he witnessed the confidential

informant from his surveillance position engage in a transaction with Mr. Preston and

18
   Hr’g Tr. 78.
19
   Hr’g Tr. 79-80.
20
   Hr’g Tr. 78, 100. The brick building was behind a separate structure connected by stairs or a walkway;
Detective Cox testified to the fact that Detective Germann conducted surveillance knew of the units of
apartment. Id. at 111.
21
   Hr’g Tr. 80.
22
   Hr’g Tr. 81-82.
23
   Hr’g Tr. 82.
24
   Hr’g Tr. 105-09. Detective Cox testified that he maintained full visual until the confidential informant
proceeded to Detective Germann’s visual; that Detective Cox has used the informant several times before;
that the informant had gone through background checks in the past; and that the informant had history of
small narcotics usage and petty theft.

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hand over what he purchased to Detective Cox.25 Detective Germann later placed that

evidence on the books and discovered that it tested positive for crack cocaine.26

        After the controlled purchase, Detective Germann obtained search warrants for

Mr. Preston’s automobile and apartment.27 On the day of his arrest, Detective Germann

observed Mr. Preston again engage in actions consistent with mouth-to-hand drug

transactions.28

        As to Defendant’s claim of his “speculative” account based on a history of citizen

complaints, Detective Germann explained the deceiving nature of the article cited by the

Defendant.29 Because the New Orleans Police Department is mandated to take any

complaint against a police officer, and the complaints remain on file even if proven false,

the amount of complaints against a police officer is not a clear indication of an officer’s

improper behavior.30

        As stated above, the Court finds that Officer Pollard’s account of the Dupas arrest

is accurate. Likewise, the Court finds that Detective Germann did not falsify any

information in the affidavits supporting the search warrants. Detective Germann gave a

non-speculative account of the activity he witnessed, including the activity surrounding

the controlled purchase, regardless of the confidential informant’s own credibility; at

issue is “[t]he deliberate falsity or reckless disregard . . . [of] only . . . the affiant, not of


25
   Hr’g Tr. 84.
26
   Hr’g Tr. 84.
27
   Hr’g Tr. 84.
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   Hr’g Tr. 85.
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   Hr’g Tr. 75.
30
   Hr’g Tr. 75-77. Detective Germann gave an example of the dubious nature of the complaints: “one of my
complaints was that I waved to somebody and they felt that that sent the wrong message to the
community.” Id. at 75. Moreover, because officers are often removed from areas where they receive
numerous complaints, Officer Germann explained that some communities rife with gang activity—like the
River Gardens area where he was assigned—abuse the system by submitting frivolous complaints to
remove an officer from the area. Id. at 77.

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any nongovernmental informant.” Franks, 438 U.S. at 438. Given that no exception to a

finding that the officer’s relied on the search warrants and arrest warrant in good faith

applies, the Court examines the good faith of the officers in enforcing the warrants.

        Given the circumstances surrounding the issuance of each warrant, the Court finds

that the officers were in good faith in executing the warrants. All officers had taken part

in conducting an ongoing investigation and used reliable sources to establish probable

cause in each affidavit supporting the warrants. The officers were therefore objectively

reasonable in relying on and executing the warrants issued by the magistrate.


B.      Statements Made Without the Presence of Counsel

        Defendant contends that “any interrogation of Mr. Preston in the absence of

counsel, including his January 11, 2011 arrest and December 8, 2011 interrogation[],”

including post-arrest statements regarding his alleged possession of a gun in the course of

alleged drug activities made to Detective Germann on January 11, should be suppressed.

Def. Mem., R. Doc. 118, at 12, 14. Supporting this assertion, Defendant claims that

because Mr. Preston was represented by counsel at the time of this conversation in other

pending cases involving drug related charges, that the “right to counsel had attached in

each case,” and that at that time he should be considered represented by counsel as to the

instant arrest.

        Defendant stated that he was charged with: (1) distribution of marijuana following

an August 15, 2011 arrest in Orleans Parish District Court, (2) conspiracy to distribute

cocaine following a June 18, 2009 arrest in Orleans Parish District Court, and (3) felon in

possession of a firearm following a March 24, 2009 arrest in Orleans Parish District

Court. Def. Mem. Supp., R. Doc. 118, 12. In addition, Defendant also states that Counts

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1 and 2 of the Government’s indictment in this case, alleging conspiracy to distribute

crack cocaine and to possess firearms for drug trafficking dating back to “a time

unknown,” are also “related to the charges alleged following the January 11, 2011 arrest.”

Def. Mem. Supp., R. Doc. 118, 13. In other words, Defendant alleges that the

Government’s indictment “make[s] clear that Mr. Preston is charged with being a drug

dealer who possessed guns to further his drug activity over the course of his life, relating

almost any alleged prior criminal activity to the current conspiracy charges.” Id.

Defendant alleges that the “fact that Mr. Preston had these ongoing criminal cases was

clearly known to the officers involved in this arrest” given the Sixth District Narcotics

Unit’s familiarity with Mr. Preston and due to Officer Pollard’s involvement. Id.

       Defendant cites Supreme Court case law in arguing that the fact that the charges

are “related” therefore “extends the attachment of Mr. Preston’s Sixth Amendment rights

with respect to the earlier charges to the subsequent charges, including the January 11

and December 8 charges.” Def. Mem. Supp., R. Doc. 118, 13. The Supreme Court in

McNeil v. Wisconsin stated:

       The Sixth Amendment right [to counsel], however, is offense specific. It cannot
       be invoked once for all future prosecutions, for it does not attach until a
       prosecution is commenced, that is, at or after the initiation of adversary judicial
       criminal proceedings—whether by way of formal charge, preliminary hearing,
       indictment, information, or arraignment.

McNeil v. Wisconsin, 501 U.S. 171, 175-76, 111 S. Ct. 2204, 2207-08, 115 L. Ed. 2d 158

(1991) (citation and internal quotation marks omitted) (emphasis added). By contrast, the

right to counsel under the Fifth Amendment is “not offense specific: Once a suspect

invokes the Miranda right to counsel for interrogation regarding one offense, he may not

be reapproached regarding any offense unless counsel is present.” Id. at 177 (quoting



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Arizona v. Roberson, 486 U.S. 675, 108 S.Ct. 2093, 100 L.Ed.2d 704 (1988)). Yet, the

Supreme Court does not conflate the two rights, and it rejected the Petitioner’s argument

in McNeil attempting to do just that:

        He contends that, although he expressly waived his Miranda right to counsel on
        every occasion he was interrogated, those waivers were the invalid product of
        impermissible approaches, because his prior invocation of the offense specific
        Sixth Amendment right with regard to the West Allis burglary was also an
        invocation of the non-offense-specific Miranda–Edwards right. We think that is
        false as a matter of fact and inadvisable (if even permissible) as a contrary-to-fact
        presumption of policy.

Id. Likewise, Defendant is attempting to assert that his Sixth Amendment rights, which

attached to the earlier charges, extend to the subsequent charges simply because they are

“related”:

        The fact of conspiracy counts in the indictment makes clear that the attachment of
        the right to counsel following Mr. Preston’s then-pending March 24, 2009 arrest
        and charges for felon in possession of firearms effectively invoked his Fifth
        Amendment and Sixth Amendment rights to counsel for all related charges
        including those alleged in this indictment.

Def. Mem. Supp. Mot. Suppress, R. Doc. 118, at 14. This argument fails not only

because the Sixth Amendment right to counsel is offense specific, but also because it

cannot be used to invoke the non-offense specific Fifth Amendment right to counsel.31

        The argument that the past charges or “offenses” are “related” was addressed by

the Supreme Court in Texas v. Cobb, where the Supreme Court rather clearly stated:

        Some state courts and Federal Courts of Appeals, however, have read into
        McNeil's offense-specific definition an exception for crimes that are “factually
        related” to a charged offense. Several of these courts have interpreted Brewer v.
        Williams, 430 U.S. 387, 97 S.Ct. 1232, 51 L.Ed.2d 424 (1977), and Maine v.
        Moulton, 474 U.S. 159, 106 S.Ct. 477, 88 L.Ed.2d 481 (1985)—both of which

31
   McNeil, 501 U.S. at 178-79, 111 S. Ct. 2204, 2209, 115 L. Ed. 2d 158 (1991)
 (“[T]o find that [the defendant] invoked his Fifth Amendment right to counsel on the present charges
merely by requesting the appointment of counsel at his arraignment on the unrelated charge is to disregard
the ordinary meaning of that request.”) (citation and internal quotation marks omitted).


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        were decided well before McNeil—to support this view, which respondent now
        invites us to approve. We decline to do so.

Texas v. Cobb, 532 U.S. 162, 168, 121 S. Ct. 1335, 1340-41, 149 L. Ed. 2d 321 (2001).

Instead, the Court held that the Sixth Amendment applies to those “offenses” even if not

formally charged that would be considered the “same offense” under the Blockburger

test: “where the same act or transaction constitutes a violation of two distinct statutory

provisions, the test to be applied to determine whether there are two offenses or only one,

is whether each provision requires proof of a fact which the other does not.” Cobb, 532

U.S. 162, 173, 121 S. Ct. 1335, 1343, 149 L. Ed. 2d 321 (2001) (citation and internal

quotation marks omitted). Thus, the fact that the prior charges are factually “related” is

not sufficient to extend the Sixth Amendment right to counsel. Defendant’s argument

that a federal conspiracy charge somehow “relates” to all prior drug charges or

possession of firearms in his lifetime is inapposite: the very fact that the Government

must prove the element of conspiracy distinguishes the charge from any other past charge

involving drug activity.32

        In sum, the Court agrees with the Government that the legal theory advanced by

the Defendant “has no basis in law” and finds that the Defendant’s right to counsel did

not extend to the January 11, 2011 and December 8, 2011 post-arrest statements and any

statements made need not be suppressed.


C.      Search Warrant’s Description of Premises


        Defendant claims that the search warrant for his apartment contained an

unconstitutionally vague description of his apartment. Def. Mem. Supp., R. Doc. 118,

32
  See 21 U.S.C. § 846 Conspiracy to Distribute and Possess Cocaine Base; 18 U.S.C. § 924(o) Conspiracy
to Possess Firearms in Furtherance of Drug Trafficking.

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14-15. For a warrant to comply with the Fourth Amendment, “the warrant can be issued

only upon probable cause, supported by affidavit, particularly describing the property and

place to be searched.” Steele v. United States, 267 U.S. 498, 501, 45 S. Ct. 414, 415, 69

L. Ed. 757 (1925). To be constitutionally sufficient, “[i]t is enough if the description is

such that the officer with a search warrant can, with reasonable effort ascertain and

identify the place intended.” Id. at 503, 45 S. Ct. 414, 416, 69 L. Ed. 757 (1925). The

search warrant in this matter described the building to be searched as a “[s]econd floor

wooden structure attached to the rear of the brick apartment complex labeled with the

municipal address of 1329/1327 St. Phillip St., New Orleans, LA.” Def. Mot. Suppress,

Ex. E. The Defendant asserts that the apartment was rather “an unattached building

approximately ten feet behind 1327-29 St. Phillip Street.” Def. Mem. Supp., R. Doc. 118,

14.

       The Defendant fails to cite any Fifth Circuit case law supporting the contention

that the “attached” wooden building which was apparently “unattached” is not

sufficiently particular. On the contrary, Fifth Circuit jurisprudence supports the opposite

conclusion. In United States v. Avarello, the Fifth Circuit stated:


       An error in the description of a premises to be searched is not automatically fatal
       to the validity of a search warrant. We have upheld a search where the wrong
       numerical address was given, United States v. Melancon, 462 F.2d 82, 94 (5th
       Cir.), Cert. denied, 409 U.S. 1038, 93 S.Ct. 516, 34 L.Ed.2d 487 (1972), and
       where the wrong street address was given, United States v. Darensbourg, 520
       F.2d 985, 988 (5th Cir. 1975). Here the wrong city was specified, which was
       certainly a potentially more serious error.

592 F.2d 1339, 1344 (5th Cir. 1979). Yet the Avarello court did not find the incorrect

city named in the warrant to defeat the reasonableness of the search. Id. In another case,

the Fifth Circuit held that even with the wrong street address, the warrant might be valid:


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           [T]he determining factor as to whether a search warrant describes the premises to
           be searched with sufficient particularity is not whether the description given is
           technically accurate in every detail but rather whether the description is sufficient
           to enable the executing officer to locate and identify the premises with reasonable
           effort, and whether there is any reasonable probability that another premises
           might be mistakenly searched which is not the one intended to be searched under
           the search warrant.

United States v. Darensbourg, 520 F.2d 985, 987 (5th Cir. 1975).

           As applied to the instant matter, the officers had no difficulties in identifying the

premises. Whether “attached” or “unattached,” only one “wooden” structure in the

complex was behind the brick building, and it was connected to the brick structure by

stairs or a walkway.33 Errors such as the wrong street address, wrong numerical address,

and wrong city are far more egregious than the adjective describing the placement of the

building in this warrant. In this instance, it is clear that the description of the structure

was sufficiently particular to enable officers to locate the premises with reasonable effort

and not mistake the premises for any other location.


D.         December 8, 2011 Terry Stop


           Finally, Defendant contends that the statements and evidence in relation to the

December 8, 2011 arrest should be suppressed for two reasons: (1) the police report fails

to articulate any basis for reasonable suspicion to stop the Defendant and Mr. Darius

Williams, and (2) the “seizure” of the Defendant and Mr. Darius Williams was an arrest

rather than an investigatory stop. Def. Mem. Supp., R. Doc. 118, 17-18. First established

in Terry v. Ohio, “it is now axiomatic that the police are allowed to stop and briefly

detain persons for investigative purposes if the police have a reasonable suspicion

supported by articulable facts that criminal activity ‘may be afoot.’” United States v.

33
     Govt. Mem. Opp., Ex B; Hr’g Tr. 100.

                                                                                                23
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Sanders, 994 F.2d 200, 203 (5th Cir. 1993)(citations omitted). Reasonable suspicion

exists when an officer can objectively “point to specific and articulable facts, which,

taken together with rational inferences from those facts, reasonably warrant” a stop and

frisk. Terry v. Ohio, 392 U.S. 1, 20-21 (1968); see United States v. Martinez, 808 F.2d

1050, 1054 (5th Cir. 1987). “Whether a detention is an arrest or merely a Terry-stop

depends on the ‘reasonableness’ of the intrusion under all the facts.” United States v.

Martinez, 808 F.2d 1050, 1053 (5th Cir. 1987) (citation omitted).


       1. Reasonable Suspicion


       As the Fifth Circuit explained in Martinez, to pass constitutional muster: (1) “the

[the officers’] suspicion must have been based on specific and articulable facts and not

mere hunches”; (2) “[the court] must gauge those facts not individually, but in their

totality and as seen and interpreted by officers of [equivalent] experience”; and (3) “the

suspicion must justify the scope of the intrusion on privacy that results from the stop.”

808 F.2d at 1054; see Illinois v. Wardlow, 528 U.S. 119, 123-24, 120 S. Ct. 673, 676, 145

L. Ed. 2d 570 (2000) (“The officer must be able to articulate more than an ‘inchoate and

unparticularized suspicion’ or ‘hunch’ of criminal activity.”).

       Defendant contends that the police report does not state facts sufficient to

establish a reasonable suspicion, which is further supported by Mr. Williams’s statement.

Def. Mem. Supp., R. Doc. 118, 17-18. The Government alleges that the circumstances

surrounding the stop were sufficient for the officers to establish a reasonable suspicion: it

occurred in a high crime area, the men appeared to be on the verge of violent behavior,

one man was armed with a screwdriver, and that man refused to cooperate upon being

given commands to drop his weapon.

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        The Thalia Street area where the Defendant and Mr. Williams were at the time the

officers observed them is a known high-crime area.34 According to testimony offered at

the hearing, Officer Gillard repeatedly told Mr. Preston to drop the screwdriver that he

was holding in his hand and had used to point at Mr. Williams.35 Both officers testified

that they moved their hands on top of their gun holsters, fearing that Mr. Preston would

flee because he was not obeying Officer Gillard’s commands.36 The Defendant offered

Mr. Williams statement in addition to Mr. Williams’ testimony at the hearing supporting

a different account of the events. Mr. Williams alleges that the officers jumped out of the

car and “pushed” them to the ground, that they had not been arguing, that the officers’

guns were drawn when they approached, and that Mr. Preston had not had a gun on his

person.37 At the time they were being stopped, both Mr. Preston and Mr. Williams

denied having been arguing.38

        Being in a high-crime area may be one factor in the totality of circumstances that

may support a reasonable suspicion; however, standing alone, it is not sufficient. Illinois

v. Wardlow, 528 U.S. 119, 124, 120 S. Ct. 673, 676, 145 L. Ed. 2d 570 (2000). In

addition, “cases have also recognized that nervous, evasive behavior is a pertinent factor

in determining reasonable suspicion.” Id. Yet “refusal to cooperate, without more, does

not furnish the minimal level of objective justification needed for a detention or seizure.”

Florida v. Bostick, 501 U.S. 429, 437, 111 S.Ct. 2382, 115 L.Ed.2d 389 (1991). Taken

together, however, these factors may give rise to reasonable suspicion.



34
   Hr’g Tr. 130.
35
   Hr’g Tr. 113, 119 (Gillard); 132-33 (Nunnery).
36
   Hr’g Tr. 118, 130 (Gillard); 139 (Nunnery).
37
   Def. Mot. Suppress, Ex. K.
38
   Hr’g Tr. 136 (Nunnery).

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        Indeed, the Fifth Circuit has found reasonable suspicion existed in cases that are

“less provocative” than the facts at hand. For example, in United States v. Wilson, the

Fifth Circuit found reasonable suspicion for a Terry stop to existed where:

        The officers, who were hired to secure a private parking lot located in a high-
        crime area, observed Wilson walking in between the parked cars at night
        concealing something beneath his shirt. Upon noticing the police, Wilson
        nervously attempted to evade them. These facts objectively gave the officers
        reasonable suspicion sufficient to effectuate a constitutional stop.

342 F. App'x 46, 47 (5th Cir. 2009). Further, in United States v. Wiley, the Fifth Circuit

upheld a Terry stop and frisk where the police officer conducted a traffic stop of a vehicle

for the driver’s failure to wear a seatbelt, ordered the driver to exit the vehicle, and

performed a pat-down after noticing a pocket knife on the driver’s person. United States

v. Wiley, 493 Fed.Appx. 481 (5th Cir. 2012). In addition, the stop took place in a high

crime neighborhood. Id. The Fifth Circuit noted that the “officer had reason to suspect

that Wiley might be armed” after discovering the knife.

        Ultimately, Officers Gillard and Nunnery point to several specific facts

supporting their reasonable suspicion: that the Defendant and Mr. Williams appeared to

be engaged in an argument that could have turned violent, that the Defendant was

carrying a large screwdriver that could be used as a weapon, that they were in a high-

crime area of the city, and that the Defendant refused to comply with Officer Gillard’s

command to drop the screwdriver several times. The reasonable inferences from these

facts, taken together, support the conclusion that the officers had reasonable suspicion

that justified their stop and frisk.


                2. Investigatory Stop or Arrest




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       When conducting the stop and frisk, in addition to the governmental interest in

investigating crime, “there is the more immediate interest of the police officer in taking

steps to assure himself that the person with whom he is dealing is not armed with a

weapon that could unexpectedly and fatally be used against him.” Terry v. Ohio, 392 U.S.

1, 23, 88 S.Ct. 1868, 1881, 20 L.Ed.2d 889 (1968). The Fifth Circuit has explained:


       [A]lthough questioning whether the police diligently pursued a means of
       investigation that was likely to confirm or dispel their suspicions quickly is
       appropriate, a court making this assessment should take care to consider whether
       the police are acting in a swiftly developing situation, and in such cases the court
       should not indulge in unrealistic second-guessing.
               The fact that the protection of the public might, in the abstract, have been
       accomplished by less intrusive means does not by itself render the search
       unreasonable. The question is not simply whether some other alternative was
       available, but whether the police acted unreasonably in failing to recognize it or to
       pursue it.

United States v. Sanders, 994 F.2d 200, 204 (5th Cir. 1993) (citing United States v.

Sharpe, 470 U.S. 675, 687, 105 S.Ct. at 1576. (internal quotations and citations omitted).

Indeed, “this court [has] observed that using some force on a suspect, pointing a weapon

at a suspect, ordering a suspect to lie on the ground, and handcuffing a suspect—whether

singly or in combination—do not automatically convert an investigatory detention into an

arrest requiring probable cause.” United States v. Campbell, 178 F.3d 345, 349 (5th Cir.

1999) (internal citation and quotation marks omitted). In United States v. Campbell, the

Fifth Circuit held that it was not unreasonable for a police officer to draw his weapon,

order the suspect to lie on the ground, handcuff the suspect, and frisk the suspect in the

course of an investigatory stop—even when the suspect had complied with the officer’s

orders. Id. The Campbell court explained that ordering a subject to lie down on the

ground and handcuffing of a subject may be appropriate:



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       As the Seventh Circuit has noted: “When a suspect is considered dangerous,
       requiring him to lie face down on the ground is the safest way for police officers
       to approach him, handcuff him and finally determine whether he carries any
       weapons.” United States v. Tilmon, 19 F.3d 1221, 1228 (7th Cir.1994).

Id. at 349. In Campbell, the defendant had complied with the officer’s order to lie down,

yet the Fifth Circuit noted that that “would not have precluded his reaching for a weapon”

which justified handcuffing the suspect. Id. The Fifth Circuit found that “it was not

unreasonable for Gentry to take the precaution of handcuffing Campbell and frisking

him, [n]or was it unreasonable, as Campbell alleges, to handcuff him before frisking

him.” Id.

       Similarly, when Officers Gillard and Nunnery observed Mr. Preston’s

screwdriver, which he initially refused to drop, they were reasonable in taking measures

to ensure that Mr. Preston would not use the screwdriver against them or Mr. Williams.

In ordering Mr. Preston and Mr. Williams to lie on the ground, handcuffing them, and

frisking them for weapons, the officers acted reasonably, ensuring that the subjects did

not have other weapons with which they could cause potential harm. Indeed, the

reasonable frisk led to the discovery of a rare and highly dangerous weapon. Once the

weapon was discovered, Mr. Preston was read his Miranda warnings and was under

arrest; the search of his person and the evidence recovered thereafter falls within the

scope of a search pursuant to his arrest. Therefore, the evidence recovered pursuant to

the December 8, 2011 arrest shall not be suppressed.


E.     December 8, 2011 Post-Arrest Statements

       The Defendant contends that the statements made to three detectives after his

December 8, 2011 arrest should be suppressed because the Defendant had not been

advised of his Fifth Amendment rights under Miranda prior to giving any statements to
                                                                                           28
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the detectives. R. Doc. 141, 1. Additionally, the Defendant contends that, under Rule 16

of the Federal Rules of Criminal Procedure, the Government should be prohibited from

using the statement at trial in light of that fact that the existence and substance of the

statement was not disclosed until March 11, 2014, nearly two years after the statement

was made. R. Doc. 141, 3.

         Officer Nunnery testified at the hearing that he read Mr. Preston his Miranda

rights following his arrest, while Mr. Preston was standing by the police vehicle after

Officer Gillard conducted a frisk, and again once the officers arrived at the police

station.39 Officer Nunnery further testified that he asked Mr. Preston whether he

understood his rights and asked if he would speak to the detectives, to which Mr. Preston

replied in the affirmative to both questions.40 According to Officer Nunnery, only a few

minutes elapsed between the time when he read Mr. Preston his Miranda rights and when

he brought Mr. Preston to the detectives.41

         The report included with the Defendant’s Motion to Suppress as Exhibit F, is New

Orleans Police Department Incident L-11959-11, which states in pertinent part: “While at

the Sixth District Station Preston was interviewed by the Sixth District Detectives Sgt. S.

Contreras, Rob Barrere, and Tom Sison.” While Defendant’s counsel may not have been

aware of the substance of the statements made by Mr. Preston until March of 2014, the

Court presumes that counsel was aware that this interview occurred after Mr. Preston’s

December arrest.

         Defendant asserts that, even if the officers testify to the fact that Mr. Preston was

given his Miranda warnings prior to the interview, “any representation by the arresting

39
   Hr’g Tr. 138.
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   Hr’g Tr. 134-35.
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   Hr’g Tr. 136.

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officers that they provided Miranda warnings is false.” Def. Supplemental Mem. Supp.

Mot. Suppress, Rec. Doc. 141, 2. In addition, Defendant contends that Mr. Preston did

not waive his rights and his waiver cannot be presumed when making statements to

officers who did not warn him of his Miranda rights—a premise for which, again,

Defendant cites no law. Id.

       After witnessing testimony at the suppression hearing and reviewing the police

report detailing the same, it is clear that Officer Nunnery read Mr. Preston his Miranda

rights. It is also clear that by agreeing to speak with and by making statements to the

ATF Detectives, Mr. Preston knowingly waived his Miranda rights. To be valid, the

waiver must be made knowingly, intelligently, and voluntarily. United States v. Oliver,

630 F.3d 397, 409-10 (5th Cir. 2011); see also Soffar v. Cockrell, 300 F.3d 588, 592 (5th

Cir. 2002)(“In order for a criminal suspect to validly waive his Miranda rights, two

elements are necessary: (1) the relinquishment of the right must be voluntary in the sense

that it was the product of a free and deliberate choice; and (2) the waiver must be made

with full awareness of the right being abandoned and the consequences of doing

so.”)(citation and internal quotation marks omitted).

       The Fifth Circuit in Soffar found that despite receiving multiple Miranda

warnings, the defendant, Soffar, “continued to talk to the police, waiving his right to

remain silent and his right to have an attorney present.” 300 F.3d at 592. For example, in

that case, “shortly after Officer Raymond Willoughby arrested Soffar and read him his

Miranda rights from a card, Soffar waived his Miranda rights by spontaneously

volunteering incriminating statements about his involvement in the bowling alley

murders.” Id. Then, after receiving Miranda warnings first from a magistrate “and then



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from Clawson at the police station, Soffar stated that he understood his rights and waived

them again by voluntarily telling the police about a potential accomplice.” Id.

       Here, as Officer Nunnery testified at the hearing, Mr. Preston was advised of his

rights and asked whether he would speak with ATF Detectives by Officer Nunnery. Mr.

Preston has provided no evidence that he did not knowingly or voluntarily speak with the

Detectives. Thus, the Court does not find that Mr. Preston’s Fifth Amendment rights

were violated in this instance. Accordingly,

       IT IS ORDERED that the Defendant’s Motion to Suppress Evidence and

Statements (R. Doc. 118) is DENIED.

                                    12th day of May, 2014.
       New Orleans, Louisiana, this _____




                                      _____________________________________
                                      STANWOOD R. DUVAL, JR.
                                      UNITED STATES DISTRICT JUDGE




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